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                                       EXHIBIT A

                                     Corrected Order




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

      In re:                                                              Chapter 11

      SRC LIQUIDATION COMPANY, et al., 1                                  Case No. 15-10541 (BLS)

                                   Debtors.                               Jointly Administered

                                                                          Re: Docket No. 1039


             CORRECTED ORDER SUSTAINING DEBTORS’ FOURTH (4TH) OMNIBUS (NON-
             SUBSTANTIVE) OBJECTION TO CLAIMS PURSUANT TO SECTION 502 OF THE
               BANKRUPTCY CODE, BANKRUPTCY RULE 3007 AND LOCAL RULE 3007-1

                    Upon consideration of the Debtors’ Fourth (4th) Omnibus (Non-Substantive) Objection

         to Claims Pursuant to Section 502 of the Bankruptcy Code, Bankruptcy Rule 3007 and Local

         Rule 3007-1 (the “Objection”) 2 and the Carmody Declaration; and this Court having found that it

         has jurisdiction to consider the Objection pursuant to 28 U.S.C. §§ 157 and 1334 and the

         Amended Standing Order; and this Court having found that venue of these Chapter 11 Cases and

         the Objection in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

         having determined that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and this

         Court having determined that the relief requested in the Objection is in the best interests of the

         Debtors, their estates, their creditors and other parties in interest; and this Court having

         determined that notice of the Objection was good and sufficient upon the particular

         circumstances and that no other or further notice need be given; and upon the record herein; and


         1
                The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: SRC
                Liquidation Company (5440); SR Liquidation Holding Company (3186); SR Liquidation Technologies, Inc.
                (3180); SR Liquidation International, Inc. (1861); iMLiquidation, LLC (6337); SR Liquidation of Puerto Rico
                Inc. (0578); SR Liquidation Mexico Holding Company (1624); Standard Register Holding, S. de R.L. de C.V.
                (4GR4); Standard Register de México, S. de R.L. de C.V. (4FN0); Standard Register Servicios, S. de R.L. de
                C.V. (43K5); and SR Liquidation Technologies Canada ULC (0001). The headquarters for the above-captioned
                Debtors is located at 600 Albany Street, Dayton, Ohio 45417.
         2
                Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
                Objection.
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after due deliberation thereon and good and sufficient cause appearing therefor; it is hereby

ORDERED, ADJUDGED, AND DECREED THAT:

        1.      The Objection is SUSTAINED as set forth herein.

        2.      The Equity Interest Claims identified on the attached Exhibit A are hereby

disallowed in their entirety.

        3.      The Duplicate Claims listed on Exhibit B are hereby disallowed in their entirety.

        4.      The Amended and Superseded Claims listed on Exhibit C are hereby disallowed

in their entirety.

        5.      Notwithstanding anything to the contrary herein or in the Objection, the Debtors

and the Pension Benefit Guaranty Corporation agree that the Remaining Claims of the Pension

Benefit Guaranty Corporation listed on Exhibit C (Claim Nos. 2405-2416, 2418-2429, 2431-

2439) are timely filed.

        6.      The Late Filed Claims listed on Exhibit D are hereby disallowed in their entirety.

        7.      Notwithstanding anything to contrary herein or in the Objection, by agreement of

the parties, Claim No. 2462, filed by CRA-CAR LLC, is hereby disallowed in its entirety, and

Claim No. 2467, also filed by CRA-CAR LLC, is hereby reclassified in its entirety as a general

unsecured claim. Pursuant to Local Rule 3007-1(f), nothing in this Order shall be construed to

prejudice the rights of the Debtors, or any other party in interest, to object to Claim No. 2467, as

reclassified, on any other grounds.

        8.      Notwithstanding anything to the contrary contained herein or in the Objection, by

agreement of the parties, Claim No. 695, filed by Weenas USA, Inc. (“Weenas”), is hereby

disallowed in its entirety, Claim No. 2359, filed by Weenas, is hereby assigned to Sonar Credit

Partners III, LLC (“Sonar”) and shall remain in Sonar’s name, and Claim No. 2360, filed by




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Weenas, shall remain on the claims register as filed. Pursuant to Local Rule 3007-1(f), nothing

in this Order shall be construed to prejudice the rights of the Debtors, or any other party in

interest, to object to Claim Nos. 2359 or 2360 on any other grounds.

         9.      The Debtors’ objection to each Disputed Claim addressed in the Objection

constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014. This Order

shall be deemed a separate order with respect to each claim. Any stay of this Order pending

appeal by any of the claimants subject to this Order shall only apply to the contested matter that

involves such claimant and shall not act to stay the applicability and/or finality of this Order with

respect to the other contested matters covered hereby.

         10.     The Debtors shall retain and shall have the right to object in the future to any

claim listed on Exhibits A and D, including with respect to the “Remaining Claims” listed

thereon on any additional ground.

         11.     The Debtors’ right to commence additional proceedings with respect to the claims

that are subject to the Objection, including but not limited to proceedings under sections 502(d),

510, 542, 543, 544, 545, 547, 548, 549, 550, 551, and 553 of the Bankruptcy Code, is also fully

reserved and shall not be prejudiced in any way by the filing of the Objection.

         12.     The Debtors are authorized and empowered to take all steps necessary and

appropriate to carry out and otherwise effectuate the terms, conditions and provisions of this

Order.




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         13.     This Court shall retain jurisdiction over all affected parties with respect to any

matters, claims or rights arising from or related to the implementation and interpretation of this

Order.




Dated: October ___, 2015
       Wilmington, Delaware
                                                       Brendon L. Shannon
                                                       Chief United States Bankruptcy Judge




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                                           Exhibit A
                                    (Equity Interest Claims)




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                NAME                DATE      CLAIM # TO BE    DEBTOR             CLAIM           REASON FOR
                                    FILED     DISALLOWED                          AMOUNT          DISALLOWANCE

         1      Clune, Robert H     6/2/15    1373             SRC Liquidation    $28,752.00      Claim No. 1373 asserts an equity
                                                               Company                            interest in Debtor SRC
                                                                                                  Liquidation Company and, as
                                                                                                  such, is not a "claim" under
                                                                                                  section 101(5) of the Bankruptcy
                                                                                                  Code

         2      Comp, Margaret A.   7/7/15    2161             SRC Liquidation    $0.00           Claim No. 2161 asserts an equity
                                                               Company                            interest in Debtor SRC
                                                                                                  Liquidation Company and, as
                                                                                                  such, is not a "claim" under
                                                                                                  section 101(5) of the Bankruptcy
                                                                                                  Code

         3      Crawfis, John       6/28/15   2001             SRC Liquidation    $2,602.00       Claim No. 2001 asserts an equity
                                                               Company                            interest in Debtor SRC
                                                                                                  Liquidation Company and, as
                                                                                                  such, is not a "claim" under
                                                                                                  section 101(5) of the Bankruptcy
                                                                                                  Code

         4      Cuti, Sharon        6/8/15    1670             SRC Liquidation    $4,375.00       Claim No. 1670 asserts an equity
                                                               Company                            interest in Debtor SRC
                                                                                                  Liquidation Company and, as
                                                                                                  such, is not a "claim" under
                                                                                                  section 101(5) of the Bankruptcy
                                                                                                  Code




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    NAME                  DATE      CLAIM # TO BE    DEBTOR             CLAIM           REASON FOR
                          FILED     DISALLOWED                          AMOUNT          DISALLOWANCE

5   Dino & Marie          6/5/15    1482             SRC Liquidation    $2,631.70       Claim No. 1482 asserts an equity
                                                     Company                            interest in Debtor SRC
    Leventis                                                                            Liquidation Company and, as
                                                                                        such, is not a "claim" under
                                                                                        section 101(5) of the Bankruptcy
                                                                                        Code

6   Kurz, Maximilian P.   6/1/15    1318             SRC Liquidation    $30,554.04      Claim No. 1318 asserts an equity
                                                     Company                            interest in Debtor SRC
                                                                                        Liquidation Company and, as
                                                                                        such, is not a "claim" under
                                                                                        section 101(5) of the Bankruptcy
                                                                                        Code

7   Lewis, Jennifer       6/10/15   1795             SRC Liquidation    $11,788.95      Claim No. 1795 asserts an equity
                                                     Company                            interest in Debtor SRC
                                                                                        Liquidation Company and, as
                                                                                        such, is not a "claim" under
                                                                                        section 101(5) of the Bankruptcy
                                                                                        Code

8   Martin, Elmerdeane    5/28/15   1149             SRC Liquidation    $0.00           Claim No. 1149 asserts an equity
                                                     Company                            interest in Debtor SRC
                                                                                        Liquidation Company and, as
                                                                                        such, is not a "claim" under
                                                                                        section 101(5) of the Bankruptcy
                                                                                        Code
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                                         Exhibit B
                                     (Duplicate Claims)




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                DUPLICATE CLAIMS TO BE DISALLOWED                               REMAINING CLAIMS
                NAME                  DATE        CLAIM #   CLAIM               NAME                    DATE        CLAIM #   CLAIM          REASON FOR
                                      FILED                 AMOUNT                                      FILED                 AMOUNT         DISALLOWANCE


         1      Allison, Sharon       6/1/15      1447      $7,464.00           Allison, Sharon L.      5/11/15     816       $7,464.00      Duplicate of claim no.
                                                                                                                                             816
         2      Allison, Sharon       5/25/15     1068      $7,464.00           Allison, Sharon L.      5/11/15     816       $7,464.00      Duplicate of claim no.
                                                                                                                                             816
         3      Allison, Sharon       5/25/15     1221      $7,464.00           Allison, Sharon L.      5/11/15     816       $7,464.00      Duplicate of claim no.
                                                                                                                                             816
         4      Bumgarner, Chad       4/7/15      501       $12,090.00          Bumgarner, Chad T.      6/8/15      1619      $12,090.00     Duplicate of claim no.
                Thomas                                                                                                                       1619
         5      Cates, Brad           7/8/15      2214      $225,136.00         Cates, Brad             7/8/15      2219      $225,136.00    Duplicate of claim no.
                                                                                                                                             2219
         6      Collins, Billie       5/27/15     1123      $8,430.50           Collins, Billie J.      5/26/15     1211      $8,430.50      Duplicate of claim no.
                                                                                                                                             1211
         7      Collins, Billie J.    5/27/15     1109      $8,430.50           Collins, Billie J.      5/26/15     1211      $8,430.50      Duplicate of claim no.
                                                                                                                                             1211
         8      Conley, Carl          7/8/15      2281      $7,802.56           Conley, Carl            7/8/15      2292      $7,802.56      Duplicate of claim no.
                                                                                                                                             2292
         9      County of Orange      8/24/15     2454      $2,810.81           County of Orange        8/26/15     2457      $2,810.81      Duplicate of claim no.
                                                                                                                                             2457
         10     CRA-CAR, LLC          8/31/15     2462      $89,406.48          CRA-CAR, LLC            9/1/15      2467      $89,406.48     Duplicate of claim no.
                                                                                                                                             2467
         11     Hudson, William       5/29/15     1007      Unliquidated        Hudson, William         5/29/15     1090      Unliquidated   Duplicate of claim no.
                                                                                                                                             1090
         12     Jaynes, Phillip       7/8/15      2217      Unliquidated        Jaynes, Phillip         7/8/15      2227      Unliquidated   Duplicate of claim no.
                                                                                                                                             2227
         13     Long, Thomas          7/8/15      2327      $25,000.00          Long, Thomas Brandt     7/8/15      2328      $25,000.00     Duplicate of claim no.
                Brandt                                                                                                                       2328
         14     Ohio Bureau Of        4/6/15      355       $18,179.34          Ohio Bureau Of          4/6/15      467       $18,179.34     Duplicate of claim no.
                Workers'                                                        Workers' Compensation                                        467
                Compensation
         15     Pham, Charles         6/8/15      1559      $2,029.00           Pham, Charles D.        6/8/15      1621      $2,029.00      Duplicate of claim no.
                                                                                                                                             1621
         16     Pham, Charles D.      6/8/15      1612      $2,029.00           Pham, Charles D.        6/8/15      1621      $2,029.00      Duplicate of claim no.
                                                                                                                                             1621
         17     Rich, Tony            5/25/15     1213      $6,122.21           Rich, Tony              5/25/15     1215      $6,122.21      Duplicate of claim no.
                                                                                                                                             1215
         18     Sinclair, Sharon L.   3/30/15     206       $3,694.40           Sinclair, Sharon L.     6/2/15      1261      $3,694.40      Duplicate of claim no.
                                                                                                                                             1261




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     DUPLICATE CLAIMS TO BE DISALLOWED                                REMAINING CLAIMS
     NAME                     DATE        CLAIM #   CLAIM             NAME                      DATE        CLAIM #   CLAIM          REASON FOR
                              FILED                 AMOUNT                                      FILED                 AMOUNT         DISALLOWANCE


19   State of New York        7/21/15     2370      $37.95            State for New York        7/23/15     2395      $37.95         Duplicate of claim no.
     Department of Labor                                              Department of Labor                                            2395

20   Telliga, Matthew         6/5/15      1474      $1,227.04         Telliga, Matthew          6/5/15      1539      $1,227.04      Duplicate of claim no.
                                                                                                                                     1539
21   Texas Comptroller of     7/30/15     2398      $1,000.00         Office of the Attorney    7/31/15     2399      $1,000.00      Duplicate of claim no.
     Public Accounts                                                  General                                                        2399

22   Texas Comptroller of     7/30/15     2397      $1,161.30         Texas comptroller of      7/31/15     2400      $1,161.30      Duplicate of claim no.
     Public Accounts on                                               public Accounts on                                             2400
     behalf of the State of                                           behalf of the State of
     Texas, Texas                                                     Texas, Texas
     Municipalities, Texas                                            Municipalities, Texas
     Co                                                               Co
23   Thicklin, Christopher    5/27/15     1138      $4,120.10         Thicklin Sr.,             5/14/15     841       $4,120.10      Duplicate of claim no.
                                                                      Christopher E.                                                 841
24   U.S. Dept. of Labor,     6/18/15     1937      $0.00             U.S. Dept. of Labor-      6/18/15     1951      Unliquidated   Duplicate of claim no.
     EBSA on behalf of                                                Employee Benefits                                              1951
     The Standard                                                     Security Administration
     Register Employees
     Savings Plan
25   U.S. Dept. of Labor,     6/18/15     1929      $0.00             U.S. Dept. of Labor-      6/18/15     1951      Unliquidated   Duplicate of claim no.
     EBSA on behalf of                                                Employee Benefits                                              1951
     The Stanreco                                                     Security Administration
     Retirement Plan
26   Utah State Tax           5/26/15     1137      $47,186.14        Utah State Tax            5/26/15     1185      $47,186.14     Duplicate of claim no.
     Commission                                                       Commission                                                     1185
27   Yawn, Jerry L.           4/27/15     782       $10,960.00        Yawn, Jerry L.            5/28/15     1187      $10,960.00     Duplicate of claim no.
                                                                                                                                     1187




                                                                            2
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                                         Exhibit C
                              (Amended and Superseded Claims)




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                AMENDED CLAIMS TO BE DISALLOWED                               REMAINING CLAIMS


                NAME                  DATE        CLAIM #   CLAIM             NAME                     DATE      CLAIM #   CLAIM            REASON FOR
                                      FILED                 AMOUNT                                     FILED               AMOUNT           DISALLOWANCE


         1      Classic Graphics,     6/9/15      1661      $76,725.32        Classic Graphics, Inc.   6/23/15   1976      $34,052.70       Amends claim no. 1661
                Inc.
         2      Classic Graphics,     6/23/15     1975      $34,052.70        Classic Graphics, Inc.   6/23/15   1976      $34,052.70       Amends claim no. 1975
                Inc.
         3      Collins, Billie       4/3/15      330       $8,430.50         Collins, Billie J.       5/26/15   1211      $8,430.50        Amends claim no. 330
         4      County of Orange      3/24/15     120       $7,574.27         County of Orange         8/26/15   2454      $2,810.81        Amends claim no. 120
         5      County of Orange      5/22/15     1013      $7,683.30         County of Orange         8/26/15   2454      $2,810.81        Amends claim no. 1013
         6      Enterprise Search     3/12/15     1         $13,513.50        Enterprise Search        3/30/15   200       $13,513.50       Amends claim no. 1
                Associates, LLC                                               Associates, LLC
         7      Ginnan, Robert M.     7/7/15      2182      $246,799.00       Ginnan, Robert M.        7/7/15    2207      $246,799.00      Amends claim no. 2182
         8      Imagine Print         6/9/15      1760      $93,562.00        Imagine Print            6/10/15   1890      $46,781.00       Amends claim no. 1760
                Solutions Inc                                                 Solutions Inc
         9      King, John Graham     7/6/15      2112      $29,400.00        King, John G.            7/8/15    2308      $29,400.00       Amends claim no. 2112
         10     Louisiana             4/24/15     798       $200.00           State of Louisiana       6/1/15    1497      $100.00          Amends claim no. 798
                Department of                                                 Department of
                Revenue                                                       Revenue
         11     Moder, Jeffery        6/30/15     2049      $21,000.00        Moder, Jeffery           7/8/15    2309      $12,475.00       Amends claim no. 2049
         12     Moder, Jeffery        7/8/15      2286      $33,475.00        Moder, Jeffery           7/8/15    2309      $12,475.00       Amends claim no. 2286
         13     New Mexico            6/4/15      1344      $1,010.74         New Mexico               6/9/15    1629      $505.37          Amends claim no. 1344
                Department of                                                 Department of
                Workforce Solutions                                           Workforce Solutions
         14     Oklahoma Tax          4/20/15     615       $5,773.64         Oklahoma Tax             8/6/15    2404      $3,008.85        Amends claim no. 615
                Commission                                                    Commission
         15     Pension Benefit       5/21/15     910       Unliquidated      Pension Benefit          8/11/15   2405      $17,877,054.00   Amends claim no. 910
                Guaranty                                                      Guaranty Corporation
                Corporation
         16     Pension Benefit       5/21/15     931       Unliquidated      Pension Benefit          8/11/15   2406      $17,877,054.00   Amends claim no. 931
                Guaranty                                                      Guaranty Corporation
                Corporation
         17     Pension Benefit       5/21/15     932       Unliquidated      Pension Benefit          8/11/15   2407      $17,877,054.00   Amends claim no. 932
                Guaranty                                                      Guaranty Corporation
                Corporation




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     AMENDED CLAIMS TO BE DISALLOWED                         REMAINING CLAIMS


     NAME              DATE      CLAIM #   CLAIM             NAME                   DATE      CLAIM #   CLAIM             REASON FOR
                       FILED               AMOUNT                                   FILED               AMOUNT            DISALLOWANCE


18   Pension Benefit   5/21/15   934       Unliquidated      Pension Benefit        8/11/15   2408      $322,200,000.00   Amends claim no. 934
     Guaranty                                                Guaranty Corporation
     Corporation
19   Pension Benefit   5/21/15   935       Unliquidated      Pension Benefit        8/11/15   2409      $34,269,661.33    Amends claim no. 935
     Guaranty                                                Guaranty Corporation
     Corporation
20   Pension Benefit   5/21/15   936       Unliquidated      Pension Benefit        8/11/15   2410      $322,200,000.00   Amends claim no. 936
     Guaranty                                                Guaranty Corporation
     Corporation
21   Pension Benefit   5/21/15   937       Unliquidated      Pension Benefit        8/11/15   2411      $17,877,054.00    Amends claim no. 937
     Guaranty                                                Guaranty Corporation
     Corporation
22   Pension Benefit   5/21/15   938       Unliquidated      Pension Benefit        8/11/15   2412      $34,269,661.33    Amends claim no. 938
     Guaranty                                                Guaranty Corporation
     Corporation
23   Pension Benefit   5/21/15   939       Unliquidated      Pension Benefit        8/11/15   2413      $34,269,661.33    Amends claim no. 939
     Guaranty                                                Guaranty Corporation
     Corporation
24   Pension Benefit   5/21/15   940       $271,400,000.00   Pension Benefit        8/11/15   2414      $34,269,661.33    Amends claim no. 940
     Guaranty                                                Guaranty Corporation
     Corporation
25   Pension Benefit   5/21/15   941       $271,400,000.00   Pension Benefit        8/11/15   2415      $34,269,661.33    Amends claim no. 941
     Guaranty                                                Guaranty Corporation
     Corporation
26   Pension Benefit   5/21/15   942       $271,400,000.00   Pension Benefit        8/11/15   2416      $17,877,054.00    Amends claim no. 942
     Guaranty                                                Guaranty Corporation
     Corporation
27   Pension Benefit   5/21/15   943       $271,400,000.00   Pension Benefit        8/11/15   2418      $322,200,000.00   Amends claim no. 943
     Guaranty                                                Guaranty Corporation
     Corporation
28   Pension Benefit   5/21/15   944       $271,400,000.00   Pension Benefit        8/11/15   2419      $322,200,000.00   Amends claim no. 944
     Guaranty                                                Guaranty Corporation
     Corporation
29   Pension Benefit   5/21/15   945       $271,400,000.00   Pension Benefit        8/11/15   2420      $17,877,054.00    Amends claim no. 945
     Guaranty                                                Guaranty Corporation
     Corporation



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     AMENDED CLAIMS TO BE DISALLOWED                         REMAINING CLAIMS


     NAME              DATE      CLAIM #   CLAIM             NAME                   DATE      CLAIM #   CLAIM             REASON FOR
                       FILED               AMOUNT                                   FILED               AMOUNT            DISALLOWANCE


30   Pension Benefit   5/21/15   946       $271,400,000.00   Pension Benefit        8/11/15   2421      $17,877,054.00    Amends claim no. 946
     Guaranty                                                Guaranty Corporation
     Corporation
31   Pension Benefit   5/21/15   947       $271,400,000.00   Pension Benefit        8/11/15   2422      $322,200,000.00   Amends claim no. 947
     Guaranty                                                Guaranty Corporation
     Corporation
32   Pension Benefit   5/21/15   948       $271,400,000.00   Pension Benefit        8/11/15   2423      $322,200,000.00   Amends claim no. 948
     Guaranty                                                Guaranty Corporation
     Corporation
33   Pension Benefit   5/21/15   949       Unliquidated      Pension Benefit        8/11/15   2424      $34,269,661.33    Amends claim no. 949
     Guaranty                                                Guaranty Corporation
     Corporation
34   Pension Benefit   5/21/15   950       Unliquidated      Pension Benefit        8/11/15   2425      $17,877,054.00    Amends claim no. 950
     Guaranty                                                Guaranty Corporation
     Corporation
35   Pension Benefit   5/21/15   952       Unliquidated      Pension Benefit        8/11/15   2426      $322,200,000.00   Amends claim no. 952
     Guaranty                                                Guaranty Corporation
     Corporation
36   Pension Benefit   5/21/15   954       $271,400,000.00   Pension Benefit        8/11/15   2427      $322,200,000.00   Amends claim no. 954
     Guaranty                                                Guaranty Corporation
     Corporation
37   Pension Benefit   5/21/15   955       $271,400,000.00   Pension Benefit        8/11/15   2428      $17,877,054.00    Amends claim no. 955
     Guaranty                                                Guaranty Corporation
     Corporation
38   Pension Benefit   5/21/15   957       Unliquidated      Pension Benefit        8/11/15   2429      $34,269,661.33    Amends claim no. 957
     Guaranty                                                Guaranty Corporation
     Corporation
39   Pension Benefit   5/21/15   958       Unliquidated      Pension Benefit        8/11/15   2431      $322,200,000.00   Amends claim no. 958
     Guaranty                                                Guaranty Corporation
     Corporation
40   Pension Benefit   5/21/15   959       Unliquidated      Pension Benefit        8/11/15   2432      $322,200,000.00   Amends claim no. 959
     Guaranty                                                Guaranty Corporation
     Corporation
41   Pension Benefit   5/21/15   960       Unliquidated      Pension Benefit        8/11/15   2433      $34,269,661.33    Amends claim no. 960
     Guaranty                                                Guaranty Corporation
     Corporation



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     AMENDED CLAIMS TO BE DISALLOWED                                REMAINING CLAIMS


     NAME                   DATE        CLAIM #   CLAIM             NAME                   DATE      CLAIM #   CLAIM             REASON FOR
                            FILED                 AMOUNT                                   FILED               AMOUNT            DISALLOWANCE


42   Pension Benefit        5/21/15     961       Unliquidated      Pension Benefit        8/11/15   2434      $34,269,661.33    Amends claim no. 961
     Guaranty                                                       Guaranty Corporation
     Corporation
43   Pension Benefit        5/21/15     962       Unliquidated      Pension Benefit        8/11/15   2435      $322,200,000.00   Amends claim no. 962
     Guaranty                                                       Guaranty Corporation
     Corporation
44   Pension Benefit        5/21/15     963       Unliquidated      Pension Benefit        8/11/15   2436      $17,877,054.00    Amends claim no. 963
     Guaranty                                                       Guaranty Corporation
     Corporation
45   Pension Benefit        5/21/15     965       Unliquidated      Pension Benefit        8/11/15   2437      $17,877,054.00    Amends claim no. 965
     Guaranty                                                       Guaranty Corporation
     Corporation
46   Pension Benefit        5/21/15     1229      Unliquidated      Pension Benefit        8/11/15   2438      $34,269,661.33    Amends claim no. 1229
     Guaranty                                                       Guaranty Corporation
     Corporation
47   Pension Benefit        5/21/15     1234      Unliquidated      Pension Benefit        8/11/15   2439      $34,269,661.33    Amends claim no. 1234
     Guaranty                                                       Guaranty Corporation
     Corporation
48   Pension Benefit        5/21/15     1234      Unliquidated      Pension Benefit        8/11/15   2439      $34,269,661.33    Amends claim no. 1234
     Guaranty                                                       Guaranty Corporation
     Corporation
49   Pension Benefit        5/21/15     1234      Unliquidated      Pension Benefit        8/11/15   2439      $34,269,661.33    Amends claim no. 1234
     Guaranty                                                       Guaranty Corporation
     Corporation
50   Sonar Credit           5/7/15      695       $7,493.43         Wenaas USA, Inc.       7/13/15   2360      $3,895.14         Amends claim no. 695
     Partners III, LLC as
     Transferee for
     Wenaas USA, INc.
51   Sowar, Gerard D.       7/6/15      2110      $193,682.00       Sowar, Gerard D.       7/7/15    2208      $193,682.00       Amends claim no. 2110
52   Wenaas USA, Inc.       7/13/15     2359      $3,598.29         Wenaas USA, Inc.       7/13/15   2360      $3,895.14         Amends claim no. 2359




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                                          Exhibit D
                                     (Late Filed Claims)




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                NAME                CLAIM # TO BE      DEBTOR                     CLAIM           BAR      CLAIM
                                    DISALLOWED                                    AMOUNT          DATE     FILED DATE

         1      AB Graphic          2452               SRC Liquidation Company    $4,813.00       7/8/15   8/24/15
                International
         2      Emminger, Thomas    2381               SRC Liquidation Company    Unliquidated    7/8/15   7/28/15
         3      Fackrell, Jame      2385               SRC Liquidation Company    Unliquidated    7/8/15   7/24/15
         4      Weeks, E            2443               SRC Liquidation Company    Unliquidated    7/8/15   8/18/15




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